       Case 1:20-cv-07829-JGK Document 13 Filed 12/30/20 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
FRANKIE MONEGRO,
                                                20-cv-7829 (JGK)
                     Plaintiff,
                                                ORDER
          - against -

CHESAPEAKE FINE FOOD GROUP, LLC,

                    Defendant.
────────────────────────────────────

JOHN G. KOELTL, District Judge:

     It having been reported to this Court that the parties have

settled this action, it is, on this 30th day of December, 2020,

hereby ordered that this matter be discontinued with prejudice but

without costs; provided, however, that within 45 days of the date

of this order, counsel for the plaintiff may apply by letter for

restoration of the action to the calendar of the undersigned, in

which event the action will be restored.

     Any application to reopen must be filed within forty-five

(45) days of this order; any application to reopen filed

thereafter may be denied solely on that basis.          Further, if the

parties wish for the Court to retain jurisdiction for the purpose

of enforcing any settlement agreement, they must submit the

settlement agreement to the Court within the same forty-five-day

period to be so-ordered by the Court. Unless the Court orders

otherwise, the Court will not retain jurisdiction to enforce a

settlement agreement unless it is made part of the public record.
         Case 1:20-cv-07829-JGK Document 13 Filed 12/30/20 Page 2 of 2


     All pending motions are dismissed as moot.          All conferences

are canceled. The Clerk of Court is directed to close this case.

SO ORDERED.

Dated:     New York, New York
           December 30, 2020

                                          _____/s/ John G. Koeltl________
                                                John G. Koeltl
                                          United States District Judge




                                      2
